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 Attorneys for MMWH Group LLC and Wasim Hamad




                     UNITED STATES DISTRICT COURT

                           CENTRAL DISTRICT



                                      CASE NO.:
  James Shayler,                      2:20-cv-10051-MWF-PVC

  Plaintiff,                          The Honorable Michael W. Fitzgerald
                                      DECLARATION OF ARA
                   vs.
                                      SAHELIAN, ESQ. IN SUPPORT OF
  MMWH Group LLC and Wasim            AN ORDER TO SHOW CAUSE AS

  Hamad,                              TO PLAINTIFF’S FAILURE TO
                                      APPEAR AT MEDIATION
  Defendants,




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        DECLARATION OF ARA SAHELIAN, ESQ. IN SUPPORT OF AN

  ORDER TO SHOW CAUSE AS TO PLAINTIFF’S FAILURE TO APPEAR

                                  AT MEDIATION

      I, Ara Sahelian, Esq., hereby declare and state as follows:

      1. I am an attorney duly authorized to practice law in all of the Courts of the

State of California, the Southern, Central, and Northern Districts of California, and

the Ninth Circuit Court of Appeals. I personally know the facts stated herein. If

called upon to testify, I could and would competently testify to those facts and

related facts that I rely upon to establish personal knowledge of the substantive

facts asserted below:

      2. I represent MMWH Group LLC and Wasim Hamad.

      3. Pursuant to the Court’s order, dated January 11, 2022, Docket 79, the

Court mandated that mediation take place on or before September 16, 2022.

      4. The parties agreed on Mr. Daniel Platt, Esq., panel mediator.

      5. The parties further agreed to have a remote mediation take place on

  September 9, 2022 at 2:00 PM.

      6. On September 9, 2022, at 2:00 PM, I attended the mediation with my

  client Wasim Hamad, individually and as principal of the MMWH Group LLC.

      7. Plaintiff’s counsel appeared without the Plaintiff James Shayler



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  present.

       8. At no time during the course of the mediation, which lasted about an

  hour and a half, did Plaintiff appear or participate.

       9. Plaintiff’s deposition was taken recently, and he appeared to have no

  recollection that the within case was still active. He testified that the last time he

  had spoken to the Hakimi & Shahriari Firm was 3 or 4 months prior to his

  deposition.

       10. Exhibit A is a true and correct copy of the deposition transcript from the

  case Shayler v. Prairie Hospitality Group Inc. et al, Superior Court of California

  County of Los Angeles, Case Number: 21TRCV00820, The Honorable Gary Y.

  Tanaka.

       I declare under penalty of perjury under the laws of the State of California,

  and the United States of America, that the foregoing is true and correct.

Respectfully submitted:

Date: September 9, 2022                                  SAHELIAN LAW OFFICES



                                                       __________________________
                                                                  Ara Sahelian, Esq.
                                                             Attorney for Defendants




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